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                Mniteli States! Bisitrtct Court
                                               FOR THE
                          NORTHERN DISTRICT OF CALIFORNIA

                              VENUE: SAN FRANCISCO



                                   UNITED STATES OF AMERICA,

                                                 V.
                                                                                  JUL112019
                                       EDUAR RAMOS, and
                                           SETH CARUS
                                                                            nSrTH DISTRICT OF CALIFORNIA


                                                                                    305 KS
                                                        OR
                                        DEFENDANT(S).


                                       INDICTMENT

                 21 U.S.C. § 841(a)(1) and (b)(1)(C) - Distribution of Heroin;
21 U.S.C. § 841(a)(1) and (b)(1)(C) - Possession with Intent to Distribute Controlled Substances;
                            21 U.S.C. § 853 - Forfeiture Allegation




                    A true bill.



                                                                  Foreman


                    Filed in open court this     ((      day of              ^


                                                                                     NOBAIVIWMW
               THOMAS S.HIX80M                        Ball,$
                                   maoSTRATEJUDQE
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